Jessica Moody, LPP No. 61015
MOODY BROWN LAW
2525 N. Canyon Rd.
Provo, Utah 84604
Telephone: (801) 356-8300
jessica@moodybrown.com

Licensed Paralegal Practitioner for Petitioner


          IN THE THIRD JUDICIAL DISTRICT COURT OF SALT LAKE COUNTY
                                     STATE OF UTAH
                450 South State St, P.O. Box 1860, Salt Lake City, UT 84114

 In the matter of the marriage of:
                                                    STIPULATION
 JENNIFER RUTH KAMP,

       Petitioner,

 and

 JASON PAUL KAMP,                                   Civil No. 244903181
                                                    Judge Kouris
        Respondent.                                 Commissioner Tack



               COME NOW the parties undersigned and represent to the Court that the

following terms are fair and reasonable. The parties stipulate and agree, as follows:

                               GROUNDS AND JURISDICTION

               1. Residency. Petitioner (hereinafter “Jennifer”) has been a resident of Salt Lake

County for at least three months prior to the filing of this action.

               2. Marriage Statistics. Jennifer and the Respondent (hereinafter “Jason”) were

married on May 16, 1996, in Murray, UT. Parties separated on or about March 10, 2024.

               3. Grounds. Since the marriage, there have arisen irreconcilable differences

between them, making it impossible to continue the marital relationship.



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                                          CHILD CUSTODY

               4. Child. There have been 4 children born as issue of this marriage, only one of

whom is a minor:

                                   Name                        Month/Year of Birth
                  GMK                                      August 2006

               5. Child Custody Jurisdiction. Utah has jurisdiction to make the initial child

custody determination pursuant to U.C.A. §78B-13-101, et seq. The child has resided in Utah for

at least six consecutive months immediately before the commencement of this proceeding, and

Utah is the home state of the child. A court of another state does not have jurisdiction over the

child, and the child and at least one parent have a significant connection with Utah, and

substantial evidence is available in Utah concerning the child’s care, protection, training, and

personal relationships.

               6. Custody/Visitation. The parties should be awarded joint legal custody of the

minor child with Jennifer awarded sole physical custody, subject to parent time at reasonable

times and places in accordance with the needs and wishes of the minor child.

                                        PARENTING PLAN

               7. Parenting Plan. The parties should be bound by the following parenting plan

which is filed in good faith:

                          a. Special consideration should be given by each parent to make the child

available to attend family functions including funerals, weddings, family reunions, religious

holidays, important ceremonies, and other significant events in the life of the child or in the life

of either parent which may inadvertently conflict with the parent-time schedule;




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                       b. The parents should notify each other of any special events involving

the child such as school activities, church events, sports events, graduations, etc., so that each

party should have the option of attending the special event if possible. For any event that is not

posted online, each party should notify one another within 24 hours of receiving notice of all

significant school, social, sports, and community functions in which the child is participating or

being honored, and both parties should be entitled to attend and participate fully. The parties

should share passwords for any school website so each can access events and school work

online.

                       c. For emergency purposes, when traveling with the minor child, the

parties should give all information required by Utah Code § 30-3-36, to wit: (1) an itinerary of

travel dates; (2) destinations; (3) phone numbers where the child or traveling parent can be

reached; and, (4) the name and telephone number of an available third person who would be

knowledgeable of the child’s location.

                       d. Either parent may make emergency decisions regarding the health or

safety of the child.

                       e. The parent, with whom the child is residing at the time, should make

day-to-day decisions regarding the care, control and discipline of the parties’ child.

                       f. Each parent should notify the other parent of significant illnesses the

child may have when they are at each parent’s individual homes.

                       g. Both parents should be allowed to call the minor child at reasonable

times. The child may call either parent at reasonable times.

                       h. Any parental rights not specifically addressed by this Parenting Plan

may be exercised by the parent having physical custody of the child the majority of the time.

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                       i. SERVICEMEMBER(S): Neither parent is currently serving in the

military. In the event that either does enlist in the future, the parenting plan shall be amended to

contain provisions that address the foreseeable parenting and custodial issues likely to arise in

the event of notification of deployment or other contingency, including long-term deployments,

short-term deployments, death, incapacity, and noncombatant evacuation operation.

                                       CHILD SUPPORT

               8. Child Support. Jason’s gross monthly income is $10,524. Jennifer’s gross

monthly income is $5,000. Father’s child support obligation should be $931 per month.         The

child support obligation of Father should be effective July 1, 2024, and continue in accordance

until a child becomes 18 years of age or graduates from high school during the child’s normal

and expected year of graduation, whichever occurs later, or if the child dies, marries, becomes a

member of the armed forces of the United States or is emancipated.

               9. Time and Method of Payment. Jason should make said child support

payments to Jennifer, one-half on or before the fifth day of each month and one-half on or before

the twentieth day of each month. Jennifer is allowed to implement automatic income

withholding procedures through the State of Utah, Office of Recovery Services.

       CHILD CARE, SCHOOL FEES, AND EXTRACURRICULAR ACTIVITIES

               10. Child Care Expenses. Due to the age of the minor child, the parties do not

anticipate the need for work-related child care; however, should it become necessary, the parties

will adopt the guidelines found in U.C.A. §78B-12-214.

               11. School Fees. The minor child has graduated from high school and all

secondary education school fees have been paid.



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               12. Extracurricular Activities.. Each party shall be ordered to assume and be

responsible for fifty percent (50%) of any out-of-pocket amount incurred for any mutually

agreed-upon in writing extracurricular activities that the minor children may be involved in. The

party incurring the extracurricular activity out-of-pocket costs shall submit to the other party

verification of the incurred expense, such as a receipt or an invoice, within thirty (30) days of

payment or receiving the same and shall be reimbursed by the other party within thirty (30) days

of receiving the verification of incurred expenses. A party who incurs an expense for a child’s

extra-curricular activity without receiving prior consent from the other parent shall be solely

responsible for that expense.

                                          INSURANCE

               13. Medical/Dental Expenses. In accordance §78B-12-212, the court will order

that insurance for the medical expenses of the minor children be provided by a parent. Either

parent shall provide health care coverage for the medical expenses of their minor children as

defined by 78B-12-102. The party who can obtain the best coverage at the most reasonable cost

will obtain insurance for the medical expenses of the minor children.

                       a. Each parent will share equally the out-of-pocket costs of the premium

actually paid by a parent for the child's portion of insurance. The child's portion of the premium

is a per capita share of the premium actually paid. The premium expenses for the child will be

calculated by dividing the premium amount by the number of persons covered under the policy

and multiplying the result by the number of children in the instant case. A parent may deduct the

other parent’s health insurance premium share from the child support obligation if they are the

child support obligor and are paying the health insurance premiums as indicated herein.



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                       b. Each parent will share equally all reasonable and necessary uninsured

medical, dental, orthodontia, eye care, counseling, prescriptions, deductibles, and copayments,

incurred for the dependent child and actually paid by the parents.

                       c. The parent ordered to maintain insurance will provide verification of

coverage to the other parent upon initial enrollment of the dependent child, and thereafter on or

before January 2, of each calendar year, if there is a change in the previous coverage or provider.

The parent will notify the other parent of any change of insurance carrier, premium, or benefits

within 30 calendar days of the date he or she first knew or should have known of the change.

                       d. The parent who incurs medical and dental expenses will provide

written verification of the cost and payment of medical and dental expenses to the other parent

within 30 days of payment. The other parent will remit payment within 30 days of receipt of the

verification. If neither party is able to secure said insurance at a reasonable cost, each party

should be responsible for the payment of one-half of all reasonable and necessary medical and

dental expenses for the minor child as indicated.

                       e. In addition to any other sanctions provided by the court, a parent

incurring medical expenses may be denied the right to receive credit for the expenses or to

recover the other parent's share of the expenses if that parent fails to comply with Subsection (d).

                       f. If, at any point in time, the dependent child is covered by the health,

hospital, or dental insurance plans of both parents, the health, hospital, or dental insurance plan

of Jennifer will be primary coverage for the dependent child and the health, hospital, or dental

insurance plan of Jason will be secondary coverage for the dependent child. If a parent remarries

and his or her dependent child is not covered by that parent's health, hospital, or dental insurance

plan but is covered by a step-parent's plan, the health, hospital, or dental insurance plan of the

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step-parent will be treated as if it is the plan of the remarried parent and will retain the same

designation as the primary or secondary plan of the dependent child.

                        g. Division of Accounts. Pursuant to Utah Code Annotated §15-4-6.7,

the parties may elect that medical/dental or school expenses be divided by the service provider

into two separate accounts for payment, one for each parent as long as the service provider

receives a copy of the Decree of Divorce at or before the day on which the service provider first

renders medical/dental services or issues a bill for school fees.

                                           TAX CREDIT

               14. Child Tax Credit. Jennifer will be entitled to claim the minor child as a child

tax credit for the 2024 tax year.

                                            ALIMONY

               15. Alimony. Jennifer and Jason are each capable of supporting himself and

herself; and, therefore, neither should be awarded alimony. Both Jennifer and Jason waive and

relinquish the right to receive alimony from the other both now and in the future.

                                            PROPERTY

               16. Personal Property. During the course of the marriage relationship, the parties

have acquired certain personal property. The parties are each awarded the personal property that

is in his or her respective possession on the date of the Stipulation, or except where further

specified as follows:

                      Item Description:                              Awarded to:
          2020 Hyundai Kona Electric Limited                           Jennifer
          2003 Chevy Truck Silverado                          Jennifer/ERK (adult child)
          1999 Ford F250 Truck                                          Jason
          Tractor                                                       Jason
          2018 Hyundai Kona                                             Jason
          2009 Hyundai Elantra                                Jason/GMK (minor child)
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           Joint MACU Checking Account x8875                              ½ each
           Jennifer’s MACU Checking/Savings                              Jennifer
           Account x5035
           Jason’s MACU Checking/Savings Account                          Jason
           Charles Schwab Investment Account x5841                        Jason
           URS Retirement Account x9926                                   Jason

                        a. During the course of the marriage, the parties acquired separate

checking and savings accounts. Each party should be awarded the money in his or her separate

checking, and/or savings accounts as his/her sole separate property with no claim by the other

party. Jennifer and Jason have a joint account at Mountain America Credit Union which they

will close no later than 10 days from the signing of the Stipulation.

                        b. The parties will pick up personal property from the marital home

within 30 days from the date the Stipulation is signed at a mutually agreed upon time. Both

parties will cooperate with each other in distributing the personal property.

                17. Real Property. During the course of the marriage, the parties acquired a home

and real property located at 2246 W Surrey Road, Taylorsville, UT. Said property has been

listed and should be sold as soon as reasonably practicable.

                        a. Jennifer has already signed a Quit-Claim Deed, transferring all of her

interest in the real property to Jason.

                                i.        This effectuated the pay-off of the debt Jennifer owed

Jason (see paragraph 19) and her debt to him is now considered paid-in-full.

                        b. Jennifer should reside in the home until it sells.

                        c. Jennifer will maintain the home. In the event repairs are required, and

deemed necessary by the listing agent, the parties will pay ½ each.

                        d. The mortgage payment will be paid by Jason.


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                       e. Jason will be entitled to claim the mortgage interest deduction on the

home until the home is sold.

                       f. The listing and selling price of the home will be mutually determined

by the parties. If the parties cannot agree, this issue is reserved by the Court.

                       g. All real estate taxes and property insurance which are not escrowed

will be paid as follows: ½ to each party.

                       h. Any lien on the property in Jennifer Kamp’s name will be paid by

Jennifer in order to effectuate closing of the home sale.

                       i. When the home sells, the proceeds of the sale will be applied as

follows:

                               i.      First, to pay expenses of sale;

                               ii.     Second, to retire all joint mortgages;

                               iii.    Last, as part of the parties’ global settlement agreement,

any and all remaining proceeds will be awarded to Jason.

                                      BUSINESS INTERESTS

               18. Business Interests. During the course of the marriage, the parties acquired an

interest in Jennifer Ruth Kamp LLC. Said business interest should be awarded to Jennifer free

and clear of any claim from Jason. Jennifer is also awarded all right, assets, accounts and

interest in the business and will assume and pay all debt associated with the business holding the

Jason harmless from liability therefrom.

                                               DEBTS

               19. Debts. Jennifer and Jason have acquired debts during the marriage. Each

will assume, and hold the other harmless from liability on, the following debts:

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                  Creditor                               Approx. Balance           Obligation of:
 MACU x8875 ID 01 (2018 Hyundai Kona)                  $10,832.38               Jason
 MACU x8875 ID 64 (2003 Chevrolet
 Silverado Truck)                                      $6,184.52                Jennifer
 Golden West Credit Union (2020 Hyundai                $27,640.45               Jennifer
 Kona EV)
 United Wholesale Mortgage company                     $559,582.41              Jason (to be paid
                                                                                with proceeds of
                                                                                home sale)
 Jason Kamp                                            $174,280                 Jennifer (paid in full
                                                                                with recording of
                                                                                Quit Claim Deed)
 MACU x8875 ID 86) HELOC (legal fees)                  $100,000                 Jason (to be paid
                                                                                with proceeds of
                                                                                home sale)
 Hepworth Legal Fees                                   $98,0000                 Jennifer

                        a. Neither party will incur any additional liability on joint credit cards or

any joint accounts.

                        b. Other Debts. Each party will be responsible to pay any other debt he

or she individually incurred. If any other joint debts are later discovered and not stated and

divided herein, the person incurring the debt will be solely responsible for the payment thereof

and should hold the other party harmless therefrom.

                        c. Creditors. The parties understand that for joint debts upon the entering

of the Decree of Divorce of joint debtors, the claim of a creditor remains unchanged unless

otherwise provided by the contract, or until a new contract is entered into between the creditors

and the debtors individually.

                        d. Notification to Creditors. The parties may notify their respective

creditors for joint debts regarding the court’s division of debts, obligations, or liabilities, and

regarding the parties’ separate current addresses.




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                        e. Delinquency in Payments. If either party is obligated on a joint-

secured debt, the payment of that debt must remain current. In the event that a payment is not

paid in a timely manner, the secured asset must be placed immediately on the market for sale in

order to protect the joint debtors. A party who makes payment on a delinquent debt in order to

protect his or her credit rating, may seek reimbursement of the payment of that debt in addition

to interest and attorney’s fees from the other party.

                                    FINANCIAL ACCOUNTS

                20. Retirement. Both parties have retirement, pension, 401 (k), stock, stock

options, and/or profit sharing plans through his or her places of employment or otherwise.

Jennifer has a John Hancock retirement account (x8868) and Jason has a Decision Point account

(x9926). As part of the global settlement, it is fair and equitable that Jennifer and Jason will each

be awarded her or his own retirement accounts, pension funds, or individual retirement accounts,

free and clear of any claim by the other party

                                        LIFE INSURANCE

                21. Life Insurance. Neither party has an interest in any life insurance policy which

has a cash value. The parties will maintain or cancel their individual policies as they see fit.

                                      MUTUAL RESTRAINT

                22. Jennifer and Jason are restrained from speaking derogatorily about the other

parent or speaking to the child about the issues in this case, or from attempting to influence a

child’s preference regarding custody or parent time which would tend to diminish the love and

affection of the child for the other parent. Jennifer and Jason should be mutually restrained from

harassing, annoying, or otherwise bothering the other party. Jennifer and Jason should be

mutually restrained from allowing third parties to do what they themselves are prohibited from

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doing under this paragraph, and will have the affirmative duty to use his or her best efforts to

prevent third parties from such violation, or will remove the child from such circumstances.

                23. Both parties should be restrained from making visitation arrangements

through the children or from using the minor child as a messenger.

                24. Neither party should use the other party’s name, likeness, image,

identification, or credit of the other party to obtain credit, open an account for service, to post to

websites such as Facebook or other social media.

                25. Both parties should be restrained from coming to the home, work place, or

places where the other party is known to be present without the other party’s express permission.

Prearranged parent-time exchanges should be an express exception to this restraint.

                26. Resolution. Except for exigent circumstances or enforcement, the parties will

participate in mediation prior to initiating litigation in the court.

                                MISCELLANEOUS PROVISIONS

                27. Attorney's Fees and Costs. Each of the parties should be ordered to assume his

or her own respective attorney fees and litigation costs incurred in this action.

                28. Former Name. Should she desire, Jennifer should be restored to her former

name of Jennifer Ruth Erickson. The Court should enter an Order of Name Change, if necessary.

                29. Non-Representation Clause: Jason acknowledges that he has a right to retain

counsel to represent him in this matter, but has decided not to seek legal representation. He

understands that he is not entitled to rely upon the legal counsel of Jennifer to inform him of his

legal rights, and acknowledges that Jessica Moody is counsel for Jennifer and is not acting as

counsel for Jason.



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               30. Discovery and Valuation of Assets and Debts: The parties acknowledge that

there has been informal discovery only in this matter and that this agreement is based upon the

information voluntarily supplied by the parties. Said parties do not desire to exercise any further

discovery rights including, but not limited to, interrogatories, requests for documents, requests

for admissions, oral depositions, rights to subpoena records and/or rights to obtain appraisers,

accountants or actuaries. Said parties do not desire, to exercise the right to have a Court

determine the division of assets and obligations, the award of support, or any and all other issues.

Said parties waive all of the rights described above. Even if this agreement is signed by counsel

of the parties, said counsel cannot be responsible with regard to the nature, extent, condition or

value of any of the assets or obligations, be they marital or separate, confirmed or disposed of by

way of this agreement. Further the parties have not relied upon representations of said counsel in

any way in the determination of the acceptability of this agreement, the valuation of the assets or

obligations, or the willingness of the parties to agree hereby and have this agreement made an

order of this Court.

               31. Fair Settlement Disclosure: Both parties disclose that the terms herein are fair

and reasonable and that they agree to the terms herein voluntarily and of his or her own free will,

and that he or she does so free from any undue influence, threat, or duress.

               32. Final Stipulation: This Stipulation is entire and complete and embodies all

understandings and agreements between the parties. No prior or contemporaneous oral or

written agreements or matters outside of this Stipulation shall have any force or effect. Jennifer

and Jason are aware that they have a right to proceed to trial in this matter to present all of their

evidence and witnesses, but waive this right. Jennifer and Jason are satisfied that the Stipulation

is fair and reasonable. There are no questions Jennifer and Jason have to ask or unresolved

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issues that need to be addressed. All issues either party wishes to raise have been incorporated in

this stipulation.

                33. The parties understand that Jennifer’s counsel does not offer legal advice as to

the tax implications herein and are aware that they have the right to seek advice from a tax expert

as to the specific tax consequences to them prior to signing the Stipulation.

                34. Both parties will sign whatever documents are necessary to transfer title and

quit claim deeds or any other documents necessary that are outlined in the Decree of Divorce and

are necessary to implement the Decree of Divorce.

                35. The parties agree that the above-referenced court has jurisdiction to make a

final determination in this action. The court has authority to enter final documents and a Decree

based on the Stipulation of the parties.

                36. The Stipulation of the parties becomes effective when signed by all parties.
              7/11/2024
        Dated ______________.
                                  Jennifer Ruth Kamp
                                 ID iyv5ywdEu3Htqy4wfKoNhRFv


                               JENNIFER RUTH KAMP, Petitioner
                7/11/2024
        Dated ______________.
                                 Jason Kamp
                                ID fvM2L1rtfe91wabxRrgtVQtX

                               JASON PAUL KAMP, Respondent


        Dated July 11, 2024.




                               JESSICA MOODY
                               Licensed Paralegal Practitioner for Petitioner




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eSignature Details

Signer ID:       iyv5ywdEu3Htqy4wfKoNhRFv
Signed by:       Jennifer Ruth Kamp
Sent to email:   jenniferruthkamp@gmail.com
IP Address:      136.38.120.177
Signed at:       Jul 11 2024, 3:44 pm MDT

Signer ID:       fvM2L1rtfe91wabxRrgtVQtX
Signed by:       Jason Paul Kamp
Sent to email:   jkamper@live.com
IP Address:      73.221.199.201
Signed at:       Jul 11 2024, 3:45 pm MDT




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